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        EXHIBIT L
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       Turn on Touch input for Windows
       Connect
           Split from this thread.

           Hi Juarez,

           One of the possible reasons why this issue occurs is due to an outdated
           device driver, or application. This can also be caused when your Action
           Center settings haven't been configured to allow input from a keyboard
           or mouse. We would like to know more about the issue so we can assist
           you better. Please answer the following questions:

                    Did you make any changes prior to the issue?
                    Were you able to connect your mobile device to your PC before?
                    Have you tried updating your Windows app on your mobile device
                    and check if the issue persists?

           In the meantime, we recommend that you check the Action Center and
           check if you're able to see the Allow input from a keyboard or mouse
           option. If the option is available, follow these steps:

              J. Under Action Center, click Connect button.
              L. Click the name of the device you're trying to project.
              N. Uncheck and check the Allow input from a keyboard or mouse
                 connected to this display option. Kindly refer to the screenshot
                 below:




https://answers.microsoft.com/en-us/windows/forum/apps_windows_1…h-input-for-windows-connect/be8bcc52-2bdd-4c83-a264-586617937963   Page 1 of 2

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           Please post back with the result for further assistance.

       I am having the same issue... it was working just fine a few months ago
       when i used it. the check box isn't there, nor does it show my device. and i
       have a Windows 10 Mobile phone *Lumia 950*, so i don't see how that
       would be the issue...




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